     Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 1 of 7 PageID #: 1




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

DONNICE ROBERTS, Individually, and             '
as NEXT    FRIEND of JOHNNY and                '
JANIE DOE, minors                              '
                                               '
                                               '
Plaintiffs,                                    '
                                               '
v.                                             '             CAUSE NO. 6:12-cv-839
                                               '
NATIONAL GEOGRAPHIC SOCIETY; a                 '
District of Columbia Corporation; FOX          '
CABLE NETWORKS, INC., a Delaware               '
Corporation;          and         FOX          '
ENTERTAINMENT GROUP, INC., a                   '
                                               '
Delaware Corporation,
                                               '
                                               '
Defendants.                                    '

                          PLAINTIFFS’ ORIGINAL COMPLAINT

         1.    Plaintiffs bring the following claims against Defendants and respectfully state:

                                           PARTIES

         2.    Plaintiff Donnice Roberts, is a resident of Carthage, Texas. Mrs. Roberts’ son,

Johnnie Doe, is 6 years old. Mrs. Roberts’ daughter, Janie Doe, is 13 years old. Both children

reside with their mother and are also Texas residents.

         3.    Defendant, National Geographic Society, is a Washington, D.C. based corporation

and can be served by serving its Registered Agent, Mr. Adam Leipzig, 9100 Wilshire Blvd., Suite

425E, Beverly Hills, CA 90212.

         4.    Defendant, Fox Cable Networks, Inc. is a Delaware Corporation and can be served

by serving its Registered Agent, CT Corporation System, 818 W. Seventh St., Los Angeles, CA,

90017.
   Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 2 of 7 PageID #: 2




        5.     Defendant, Fox Entertainment Group, Inc., is a Delaware Corporation and can be

served by serving its Registered Agent, CT Corporation System, 818 W. Seventh St., Los Angeles,

CA, 90017.

                                 VENUE AND JURISDICTION

        6.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because this

controversy is between citizens of different states. In addition, the amount in controversy is in

excess of $75,000.00 U.S.

        7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) & (c), because

Defendants are subject to personal jurisdiction in this district and are therefore “residents” of this

district.

                                              FACTS

        8.     Staff Sergeant Kevin Casey Roberts, is Donnice Roberts’ late husband and the

father of Johnnie and Janie Doe. Sergeant Roberts enlisted in the United States Army in

November, 2001, determined to serve his country in the aftermath of the terrorist attack on

America on 9-11-2001. Sergeant Roberts served two tours of duty in Iraq, and was serving a tour

of duty with the 101st Airborne Division, 4th Brigade, in Khost, Afghanistan in 2008.

        9.     On May 7, 2008, Sergeant Roberts was operating a Humvee performing security

services for a military convoy near Khost, Afghanistan. It was the last mission Sergeant Roberts

was to perform before going home to attend his grandmother’s funeral. While he had the

opportunity to decline the mission and leave Afghanistan, he chose to go on the mission and stay

with his men. During the mission the Humvee was struck by an Improvised Explosive Device. The

IED destroyed the vehicle and five service members, including Sergeant Roberts, were seriously
  Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 3 of 7 PageID #: 3




injured. The injured were evacuated by helicopter to the nearest field hospital. Tragically, Sergeant

Roberts did not survive his wounds and died serving the country that he loved.

       10.     Sergeant Roberts was awarded the Bronze Star and the Purple Heart for his service,

along with numerous other decorations arising from his two tours of duty in Iraq and his tour of

duty in Afghanistan. His body was returned home to East Texas and he is buried near Center,

Texas. His widow, Mrs. Roberts, and her two children grieved Sergeant Roberts’ death and are

tremendously proud of his service to America.

       11.      Approximately one year after his death, Mrs. Roberts received a phone call from a

military service member stationed in Germany. The service member reported that he had just seen

a documentary on the Armed Forces Network, broadcast in the German language, which depicted

Sergeant Roberts’ dead body, and included an image of Donnice Roberts and her two minor

children. Until this phone call, Mrs. Roberts had no idea there was any video footage related to her

husband’s death, that her image or her childrens’ image appeared in any documentary, or that any

such documentary even existed.

       12.     Mrs. Roberts was surprised at this news and investigated further. The documentary,

“Inside Afghan ER”, was produced and distributed by the National Geographic Society. The

documentary was further promoted and distributed by Fox Cable Networks, Inc. and Fox

Entertainment Group, Inc. through the cable network NatGeo and its affiliated websites.

       13.     The documentary included images of Mrs. Roberts and her two minor children. The

image came from a family trip to Disney World. Based upon information and belief, it appears the

subject photograph was taken from Sergeant Roberts’ personal laptop after his death and without

any permission from the Roberts family. Mrs. Roberts was very disturbed that her image, and more

importantly, her children’s image would be broadcast around the world without their knowledge or
   Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 4 of 7 PageID #: 4




permission. This is particularly true given the fanaticism associated with jihadist determined to kill

Americans, including American women and children.

       14.      The documentary was widely distributed throughout the world and was submitted

and won a contest for the best documentary in Asia. Mrs. Roberts contacted the National

Geographic Society to obtain a copy of the documentary and to retrieve the family photo. She was

told that she would be required to sign a release before the Society would provide her a copy. Mrs.

Roberts refused to sign a Release.

       15.     Defendants have worked in concert to film, edit, produce, distribute, and sell the

documentary “Inside Afghan ER.” Moreover, these entities jointly and in combination own and

operate the NatGeo cable network and related websites, through which they have further promoted

and aired the subject documentary. These entities have each enjoyed a financial and business

benefit associated with the distribution of this documentary.

       16.     None of the Defendants were ever given permission to use the Plaintiffs’ likeness

or image in the subject documentary film.

       CAUSE OF ACTION FOR APPROPRIATION OF NAME OR LIKENESS

       17.     Defendants appropriated the likeness of Mrs. Roberts, and her two minor children

when they placed their image into the documentary, “Inside Afghan ER.”

       18.      The documentary makes clear by context and editing that the images depicted are

those of Sergeant Roberts, his wife, and two young children. Thus, Plaintiffs can be easily

identified from the documentary.

       19.     Defendants have distributed the documentary world-wide, entered the

documentary in various film competitions, sold the documentary for profit, and have enjoyed

significant financial benefit.
  Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 5 of 7 PageID #: 5




       20.     Plaintiffs suffered mental anguish, shock, and sadness as a result of their

unauthorized appearance in a documentary depicting the death of Sergeant Roberts and exposing

the image Mrs. Roberts and the Roberts children to the world. Moreover, Mrs. Roberts has fears

and concerns that her minor children are depicted as the children of a warrior in the war on terror,

which is fought by fanatic, radical individuals who have shown a propensity and desire to kill

Americans, including women and children.

       21.     Plaintiffs’ damages were proximately caused by Defendants’ unauthorized use of

their name or likeness.

                                     ACTUAL DAMAGES

       22.     Plaintiffs have suffered mental anguish in the past and will continue to suffer

mental anguish in the future associated with the unauthorized use of their name or likeness.

       23.     Plaintiffs seek economic damages for the loss of the value of the exclusive use of

their own name or likeness and for unjust enrichment to Defendants.

       24.     Plaintiffs’ actual damages were proximately caused by Defendants’ unauthorized

use of their name or likeness.

                    EQUITABLE RELIEF-PERMANENT INJUNCTION

       25.     Plaintiffs do not believe any family member of a killed or injured service member

should be exposed to the unauthorized use of their image for a third party’s financial gain or use.

Plaintiffs have suffered an irreparable harm and the economic damages available are inadequate to

remedy the harm caused.

       26.     The hardship imposed upon military family members resulting from the risk of the

unauthorized publication of their likeness around the globe by virtue of the service of a loved one
  Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 6 of 7 PageID #: 6




to the United States of America, greatly outweighs any hardship the equitable relief sought would

impose on the National Geographic Society.

       27.     The equitable relief sought is appropriate and warranted. Moreover, the general

public will be well served by the equitable relief sought as a means of providing further assurance

of privacy for the families of those serving in the military of the United States of America. More

specifically, those Americans who have already sacrificed for their country as a result of their

family member’s service will also be well served by the equitable relief sought.

       28.     As such, Plaintiffs seek equitable relief in the form of permanent injunctive relief,

enjoining the National Geographic Society, Fox Cable Networks, Inc., or Fox Entertainment

Group, Inc., from further airing, web-casting, or otherwise marketing the documentary “Inside

Afghan ER” so long as it includes Plaintiffs’ unauthorized likeness or image. In addition, Plaintiffs

seek injunctive relief enjoining Defendants from engaging in the practice of using military family

members’ image, name, or likeness for commercial purposes without their express, written

permission. The enforcement and placement of this permanent injunctive relief will honor

Sergeant Roberts and is an appropriate equitable remedy for the Defendants’ unauthorized

conduct. Moreover, this injunctive relief will prevent any other future military family member

from a similar situation.

             CLAIM FOR PREJUDGMENT AND POST-JUDGMENT INTEREST

       29.     Plaintiffs herein claim interest in accordance with Texas Finance Code '304.001 et

seq. and any other applicable law.

                                         JURY DEMAND

       30.     Plaintiffs request that a jury be empaneled to try all fact issues in this case.
  Case 6:12-cv-00839-MHS Document 1 Filed 11/01/12 Page 7 of 7 PageID #: 7




                                           PRAYER

       31.     Plaintiffs pray that Defendants be cited to appear and answer herein and upon final

hearing of this cause, Plaintiffs have judgment against Defendants for the damages described

herein, obtain the equitable relief sought, attorney’s fees, costs of suit, pre-judgment and post

judgment interest as permitted by law, and for such other relief to which Plaintiffs may be justly

entitled in law and/or equity.

                                                    Respectfully submitted,

                                                    /s/Jeffrey T. Embry
                                                    Jeffrey T. Embry
                                                    State Bar No. 24002052
                                                    Attorney-in-Charge
                                                    HOSSLEY &EMBRY, LLP
                                                    320 S. Broadway, Suite 100
                                                    Tyler, Texas 75702
                                                    Ph. 903-526-1772
                                                    Fax. 903-526-1773
                                                    jeff@hossleyembry.com

                                                    ATTORNEY FOR PLAINTIFFS
